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 6   Attorney for Defendant
     MIGUEL FELIX LOPEZ
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )       No. 2:13-CR-00325-GEB
                                                      )
12                                                    )       STIPULATION AND
            Plaintiff,                                )       [PROPOSED] ORDER CONTINUING CASE
13                                                    )       AND EXCLUDING TIME
     v.                                               )
14                                                    )
     CARLOS ALFREDO OLAZABAL,                         )       Date: May 15, 2015
15                                                    )       Time: 9:00 am.
     MIGUEL FELIX LOPEZ.                              )       Judge: Honorable Garland E. Burrell, Jr.
16                                                    )
            Defendants.                               )
17                                                    )
                                                      )
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20          IT IS HEREBY stipulated between the United States of America through its undersigned
21   counsel, Samuel Wong, Assistant United States Attorney, attorney for plaintiff, together with
22   Adam Koppekin, attorney for defendant Carlos Olazabal and Kyle Knapp, attorney for
23   defendant Miguel Felix-Lopez that the previously-scheduled status conference, currently set for
24   May 15, 2015, be vacated and that the matter be set for status conference on June 5, 2015 at
25   9:00 a.m.
26          Counsel have conferred and this continuance is requested to allow defense counsel
27   additional time to finalize review of the plea agreement, meet with our clients regarding the
28   details and finally have it translated into Spanish should it be acceptable .


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 1          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 2   continuance outweigh the best interests of the public and the defendants in a speedy trial and
 3   that time within which the trial of this case must be commenced under the Speedy Trial Act
 4   shall therefore be excluded under 18 U.S.C. Section 3161(h)(7) (A) and (B) (iv), corresponding
 5   to Local Code T-4 (to allow defense counsel reasonable time to prepare) from the date of the
 6   parties’ stipulation, May 12, 2015 up to and including June 5, 2015.
 7   IT IS SO STIPULATED.
 8
     Dated: May 12, 2015                                         BENJAMIN B. WAGNER
 9                                                               UNITED STATES ATTORNEY

10                                                       by:     /s/ Samuel Wong
                                                                 SAMUEL WONG
11
                                                                 Assistant U.S. Attorney
12                                                               Attorney for Plaintiff

13   Dated: May 12, 2015                                         /s/ Adam M. Koppekin
14
                                                                 ADAM M. KOPPEKIN
                                                                 Attorney for Defendant
15                                                               Carlos Alfredo Olazabal
16   Dated: May 12, 2015                                         /s/ Kyle R. Knapp
17
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
18                                                               MIGUEL FELIX LOPEZ
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               Case 2:13-cr-00325-GEB Document 32 Filed 05/13/15 Page 3 of 3



 1
                                          [PROPOSED] ORDER
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             The Stipulation of the parties in its entirety is hereby accepted and adopted as the Court's
 3
     Order. The requested continuance is GRANTED. This matter shall be dropped from this
 4
     court’s May 15, 2015 criminal calendar and re-calendared for status conference on June 5, 2015,
 5
     2015.
 6
             Based on the representations of the parties the court finds that: (1) the failure to grant
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     such a continuance in this case would deny counsel for defendants the reasonable time
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     necessary for effective preparation, taking into account the exercise of due diligence; and (2) the
 9
     ends of justice served by granting this continuance outweigh the best interests of the public and
10
     the defendants in a speedy trial. The Court orders that the time period from the filing of the
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     parties' stipulation on May 12, 2015, through and including the June 5, 2015, status conference
12
     shall be excluded from computation of time within which the trial of this case must be
13
     commenced under the Speedy Trial Act pursuant to 18 U.S.C. Section 3161(h)(7) (A) and (B)
14
     (iv), corresponding to Local Code T-4 (to allow defense counsel reasonable time to prepare).
15

16          IT IS SO ORDERED.
     Dated: May 13, 2015
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